Case 18-06044-LT11    Filed 12/04/19   Entered 12/04/19 14:55:02    Doc 499    Pg. 1 of 1




                              TENTATIVE RULING
                     ISSUED BY JUDGE LAURA S. TAYLOR




   Debtor:      JESSE WAYNE DAWBER


   Number:      18-06044-LT11
   Hearing:     11:00 AM Thursday, December 5, 2019
   Motion:   MOTION FOR ENTRY OF AN ORDER APPROVING
   SETTLEMENT AGREEMENT WITH FORCE TEN PARTNERS, LLC AND
   JEREMY ROSENTHAL PURSUANT TO RULE 9019 OF THE FEDERAL RULES
   OF BANKRUPTCY PROCEDURE FILED ON BEHALF OF DAVID K. GOTTLIEB,
   CHAPTER 11 TRUSTEE


   Grant. The Court will grant this unopposed Motion and approve the proposed
   Settlement Agreement. The Court has reviewed the Settlement Agreement and
   considered the factors set out in Martin v. Kane (In re A & C Properties), 784
   F.2d 1377, 1380-81 (9th Cir. 1986), cert. denied 479 U.S. 854 (1986). The Court
   has considered the Trustee's analysis of the probability of success in the
   litigation; the difficulties which would likely be encountered in the matter of
   collection; the complexity of the litigation which would be involved, and the
   expense, inconvenience, and delay necessarily attending it; and the paramount
   interest of the creditors and a proper deference to their reasonable views in the
   premises. The Court finds that the settlement is fair and reasonable and, in
   particular, that these A & C Factors warrant approval of the Settlement
   Agreement.
   Appearances at the December 5, 2019 hearing are excused; the Trustee may
   submit his order.
